                        Case 6:18-bk-06437-KSJ            Doc 149      Filed 10/01/19       Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                10/01/2019 11:00 AM
                                                                COURTROOM 6A, 6th Floor
HONORABLE KAREN JENNEMANN
CASE NUMBER:                                                    FILING DATE:
6:18-bk-06437-KSJ                        7                        10/18/2018
Chapter 7
DEBTOR:                James Pendergraft


DEBTOR ATTY:           Justin Clark
TRUSTEE:               Arvind Mahendru
HEARING:
1) Motion by Trustee to Compel Debtor to comply with Court Order (Doc #108) for Turnover as to Documents Held by Debtor
                       (Doc #138)
2) Motion by Trustee to Compel Compliance with the Court's Agreed Order (Doc #123) Granting Trustee's Report and Notice of
                       Intention to Sell Property of the Estate (Doc #139)
Note:
Future Hearing: 10/1/2019 at 11:00 a.m.
Pending:
Motion by Trustee for Turnover of Property - specifically: Excess of Allowed Exemptions for Lincoln Continental, Household
                       Furnishing and BB&T bank account (Doc #146) filed with 30 days neg ntc on 9/26/19

APPEARANCES:: Wayne Spivak and Jacqueline Laverne (Debtor Attys); Michael Nardella (Trustee Atty);

RULING:
1) Motion by Trustee to Compel Debtor to comply with Court Order (Doc #108) for Turnover as to Documents Held by Debtor
(Doc #138) - Granted:Order by Nardella;

2) Motion by Trustee to Compel Compliance with the Court's Agreed Order (Doc #123) Granting Trustee's Report and Notice of
Intention to Sell Property of the Estate (Doc #139) - Granted:Order by Nardella;

 The Court will issue and Order to Show Cause Why the Debtor Should not be Found in Contempt and has until November 1,
2019 to comply with court orders:Order by Nardella. Cont. to 11/13/19 at 11:00 a.m.

Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 6:18-bk-06437-KSJ                     Chapter 7
